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                                                 May 18, 2025

             Molly Dwyer, Clerk of Court
             Office of the Clerk
             U.S. Court of Appeals for the Ninth Circuit
             P.O. Box 193939
             San Francisco, CA 94119-3939
             (415) 355-8000
             By email at molly_dwyer@ca9.uscourts.gov

                    RE:   Cause No. 25-2717 Webber v. USA et al.

             Dear Clerk Dwyer:

             Pursuant to FRAP 28(j) and Circuit Rule 28-6, Appellants Susan Webber, Jonathan
             St. Goddard, Rhonda Mountain Chief and David Mountain Chief, submit the
             attached opinion AARP et al v. Trump et al, 605 U.S. ___ (2025), No. 24A1007
             issued May 16, 2025 as additional authority related to their pending motion for a
             preliminary injunction (Doc. 5.1 and supporting documents 4.1 to 4.23).

             AARP v. Trump directly addresses the issue of the Appellate Court’s jurisdiction to
             review an interlocutory order that has the practical effect of refusing an injunction.
             In AARP, the Fifth Circuit dismissed an appeal for lack of jurisdiction and denied
             an injunction pending appeal as premature. The Supreme Court, Per Curiam,
             vacated and remanded, stating: “Appellate courts have jurisdiction to review
             interlocutory orders that have “the practical effect of refusing an injunction.” ”
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             Notice of Supplemental Authority
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             AARP p. 3 citing and quoting Carson v. American Brands, Inc., 450 U.S. 79, 84
             (1981).

             The Supreme Court vacated the judgment of the 5th Circuit and remanded with
             instructions to address all the preliminary injunction factors. AARP p. 8. AARP is
             clear authority that the Ninth Circuit has authority and jurisdiction to address all
             the preliminary injunction factors submitted by the Appellants in their request for
             injunctive relief pending appeal (Doc 5.1). Seventeen declarations have been filed
             supporting the request (4.1 through 4.12, 13.2), setting out irreparable harm.

             Appellants conduct business across the 49th parallel and seek relief prior to the
             summer tourist season that starts when the Going to the Sun highway is cleared
             and that is dependent on Glacier National Park’s short but critical season.

             The motion is fully briefed and ripe for decision.


                                                MONICA TRANEL

                                                /s/ Monica Tranel

                                                TRANEL LAW FIRM, P.C.


             Statement of compliance: In compliance with FRAP 28(j) and Circuit Rule 28-6
             the body of the above letter providing notice of AARP v. Trump is 275 words.

             Copy: Attorney for Defendants
                   Luke Mathers at Luke.Mathers@usdoj.gov
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                          SUPREME COURT OF THE UNITED STATES
                                                   _________________

                                                   No. 24A1007
                                                   _________________


                           A. A. R. P., ET AL. v. DONALD J. TRUMP, PRESIDENT
                                      OF THE UNITED STATES, ET AL.
                                       ON APPLICATION FOR INJUNCTION
                                                  [May 16, 2025]

                             PER CURIAM.
                             The President has invoked the Alien Enemies Act (AEA),
                          Rev. Stat. §4067, 50 U. S. C. §21, to remove Venezuelan na-
                          tionals who are members of Tren de Aragua (TdA), a desig-
                          nated foreign terrorist organization. See Presidential Proc-
                          lamation No. 10903, 90 Fed. Reg. 13033 (2025). Applicants
                          are two detainees identified as members of TdA and a pu-
                          tative class of similarly situated detainees in the Northern
                          District of Texas. All of the alleged TdA members in the
                          putative class are currently being held in U. S. detention
                          facilities. In the application before the Court, the detainees
                          seek injunctive relief against summary removal under the
                          AEA.
                                                        I
                            On April 17, 2025, the District Court denied the detain-
                          ees’ motion for a temporary restraining order (TRO) against
                          summary removal under the AEA. No. 25−cv−59, ECF Doc.
                          27. The detainees allege that, hours later, putative class
                          members were served notices of AEA removal and told that
                          they would be removed “tonight or tomorrow.” ECF Doc.
                          30, p. 1. On April 18 at 12:34 a.m. central time, the detain-
                          ees moved for an emergency TRO. See ibid. At 12:48 p.m.,
                          the detainees moved for a ruling on that motion or a status
                          conference by 1:30 p.m. ECF Doc. 34. At 3:02 p.m., they
                          appealed “the constructive denia[l]” of the emergency TRO




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                          to the Fifth Circuit. ECF Doc. 36, p. 1. The detainees also
                          applied to this Court for a temporary injunction.
                             We understood the Government to assert the right to re-
                          move the detainees as soon as midnight central time on
                          April 19. The Government addressed the detainees’ allega-
                          tions on April 18 only at an evening hearing before the Dis-
                          trict Court for the District of Columbia, where the detainees
                          had separately sought relief. The Government guaranteed
                          that no putative class members would be removed that day.
                          Tr. of Proceedings in J. G. G. v. Trump, No. 25−cv−766,
                          ECF Doc. 93, p. 9. But it further represented that, in its
                          view, removal of putative class members as soon as the next
                          day “would be consistent with” its due process obligations,
                          and it “reserve[d] the right” to take such action. Id., at 26;
                          see id., at 16 (explanation by the court that “tomorrow . . .
                          starts at 12:01 a.m.”). Evidence now in the record (although
                          not all before us on April 18) suggests that the Government
                          had in fact taken steps on the afternoon of April 18 toward
                          removing detainees under the AEA—including transport-
                          ing them from their detention facility to an airport and later
                          returning them to the facility. See Supp. App. to Reply
                          1a−5a. Had the detainees been removed from the United
                          States to the custody of a foreign sovereign on April 19, the
                          Government may have argued, as it has previously argued,
                          that no U. S. court had jurisdiction to order relief. See Ap-
                          plication To Vacate Injunction in Noem v. Abrego Garcia,
                          No. 24A949 (Apr. 7, 2025), pp. 11−20.
                             At 12:52 a.m. eastern time (11:52 p.m. central time), we
                          ordered the Government—in light of all these circum-
                          stances—“not to remove any member of the putative class
                          of detainees” in order to preserve our jurisdiction to con-
                          sider the application. 604 U. S. ___ (2025). We invited the
                          Government to respond to that application after the Fifth
                          Circuit ruled. The Fifth Circuit dismissed the detainees’
                          appeal for lack of jurisdiction and denied their motion for
                          injunction pending appeal as premature, on the ground that




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                          the detainees “gave the [district] court only 42 minutes to
                          act.” No. 25−10534, ECF Doc. 14, p. 2. We now construe
                          the application as a petition for writ of certiorari from the
                          decision of the Fifth Circuit. See Reply 15. We grant the
                          petition as well as the application for injunction pending
                          further proceedings, vacate the judgment of the Fifth Cir-
                          cuit, and remand for further proceedings.
                                                         II
                             The Fifth Circuit erred in dismissing the detainees’ ap-
                          peal for lack of jurisdiction. Appellate courts have jurisdic-
                          tion to review interlocutory orders that have “the practical
                          effect of refusing an injunction.” Carson v. American
                          Brands, Inc., 450 U. S. 79, 84 (1981). A district court’s in-
                          action in the face of extreme urgency and a high risk of “se-
                          rious, perhaps irreparable,” consequences may have the ef-
                          fect of refusing an injunction. 16 C. Wright, A. Miller, & E.
                          Cooper, Federal Practice and Procedure §3924.1, pp. 174,
                          180−181 (3d ed. 2012) (quoting Baltimore Contractors, Inc.
                          v. Bodinger, 348 U. S. 176, 181 (1955)). Here the District
                          Court’s inaction—not for 42 minutes but for 14 hours and
                          28 minutes—had the practical effect of refusing an injunc-
                          tion to detainees facing an imminent threat of severe, irrep-
                          arable harm. Accordingly, we vacate the judgment of the
                          Court of Appeals.
                             “[T]he Fifth Amendment entitles aliens to due process of
                          law in the context of removal proceedings.” Trump v.
                          J. G. G., 604 U. S. ___, ___ (2025) (per curiam) (slip op., at
                          3) (internal quotation marks omitted). “Procedural due pro-
                          cess rules are meant to protect” against “the mistaken or
                          unjustified deprivation of life, liberty, or property.” Carey
                          v. Piphus, 435 U. S. 247, 259 (1978). We have long held that
                          “no person shall be” removed from the United States “with-
                          out opportunity, at some time, to be heard.” The Japanese
                          Immigrant Case, 189 U. S. 86, 101 (1903). Due process re-
                          quires notice that is “reasonably calculated, under all the




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                          circumstances, to apprise interested parties” and that “af-
                          ford[s] a reasonable time . . . to make [an] appearance.”
                          Mullane v. Central Hanover Bank & Trust Co., 339 U. S.
                          306, 314 (1950). Accordingly, in J. G. G., this Court ex-
                          plained—with all nine Justices agreeing—that “AEA de-
                          tainees must receive notice . . . that they are subject to re-
                          moval under the Act . . . within a reasonable time and in
                          such a manner as will allow them to actually seek habeas
                          relief ” before removal. 604 U. S., at ____ (slip op., at 3). In
                          order to “actually seek habeas relief,” a detainee must have
                          sufficient time and information to reasonably be able to con-
                          tact counsel, file a petition, and pursue appropriate relief.
                             The Government does not contest before this Court the
                          applicants’ description of the notice afforded to AEA detain-
                          ees in the Northern District of Texas, nor the assertion that
                          the Government was poised to carry out removals immi-
                          nently. The Government has represented elsewhere that it
                          is unable to provide for the return of an individual deported
                          in error to a prison in El Salvador, see Abrego Garcia v.
                          Noem, No. 25−cv−951 (D Md.), ECF Docs. 74, 77, where it
                          is alleged that detainees face indefinite detention, see Ap-
                          plication for Injunction 11. The detainees’ interests at
                          stake are accordingly particularly weighty. Under these
                          circumstances, notice roughly 24 hours before removal, de-
                          void of information about how to exercise due process rights
                          to contest that removal, surely does not pass muster. But
                          it is not optimal for this Court, far removed from the cir-
                          cumstances on the ground, to determine in the first in-
                          stance the precise process necessary to satisfy the Consti-
                          tution in this case. We remand the case to the Fifth Circuit
                          for that purpose.
                             To be clear, we decide today only that the detainees are
                          entitled to more notice than was given on April 18, and we
                          grant temporary injunctive relief to preserve our jurisdic-
                          tion while the question of what notice is due is adjudicated.
                          See post, at 13 (ALITO, J., dissenting). We did not on April




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                          19—and do not now—address the underlying merits of the
                          parties’ claims regarding the legality of removals under the
                          AEA. We recognize the significance of the Government’s
                          national security interests as well as the necessity that
                          such interests be pursued in a manner consistent with the
                          Constitution. In light of the foregoing, lower courts should
                          address AEA cases expeditiously.
                                                        III
                             The dissent disputes both the Court’s jurisdiction and the
                          availability of classwide relief. We do not find its reasoning
                          persuasive.
                             First, we reject the dissent’s characterization of the
                          events that transpired on April 18, which lead it to question
                          our jurisdiction. District courts should approach requests
                          for preliminary relief with care and consideration, see post,
                          at 3−4 (ALITO, J., dissenting), but exigent circumstances
                          may impose practical constraints. Preliminary relief is
                          “customarily granted on the basis of procedures that are
                          less formal and evidence that is less complete than in a trial
                          on the merits.” Lackey v. Stinnie, 604 U. S. ___, ___ (2025)
                          (slip op., at 6) (quoting University of Tex. v. Camenisch, 451
                          U. S. 390, 395 (1981)). The purpose of such relief is “merely
                          to preserve the relative positions of the parties” pending
                          further proceedings. Lackey, 604 U. S., at ___ (slip op., at
                          6) (quoting Camenisch, 451 U. S., at 395).
                             In this case, the record before the District Court, alt-
                          hough limited, indicated that removals of putative class
                          members were likely imminent. Contra, post, at 4−6
                          (ALITO, J., dissenting). The detainees attached four decla-
                          rations to their emergency motion for a TRO. In one, for
                          example, an attorney relayed a detainee’s report that immi-
                          gration officers “had informed them that they will be de-
                          ported either today or tomorrow.” ECF Doc. 30−1. In a sec-
                          ond, a nonprofit director described conversations with




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                          family members of detainees and linked to a video of detain-
                          ees holding notices of removal as evidence that detainees
                          “were being removed.” ECF Doc. 30−2.
                             Importantly, the relevant question for purposes of our ju-
                          risdiction is whether, at the time this Court was called upon
                          to intervene, the District Court’s inaction had the effect of
                          refusing an injunction. In their application to this Court,
                          the detainees represented that “[m]any individuals [had]
                          already been loaded on to buses, presumably headed to the
                          airport.” Application for Injunction 1. Shortly thereafter,
                          the Government represented on the record in federal court
                          that it reserved the right to remove detainees after mid-
                          night. We had the power to issue injunctive relief to pre-
                          vent irreparable harm to the applicants and to preserve our
                          jurisdiction over the matter. 28 U. S. C. §1651(a). Now that
                          the Fifth Circuit has ruled, our certiorari jurisdiction also
                          supports review in the ordinary course.
                             Finally, this Court may properly issue temporary injunc-
                          tive relief to the putative class in order to preserve our ju-
                          risdiction pending appeal.* Named applicants A. A. R. P.
                          and W. M. M. assert that they are at imminent risk of being
                          classified as alien enemies and removed from the United


                          ——————
                             *We note that the District Court recently denied class certification as
                          to the detainees’ underlying habeas claims challenging the validity of re-
                          moval under the AEA. See ECF Doc. 67. By its own terms, the District
                          Court’s order is “automatically vacated” by our order granting a writ of
                          certiorari. Id., at 2. And in any event, the District Court’s order primar-
                          ily addressed the detainees’ ability to challenge the validity of AEA re-
                          moval on a classwide basis. The application before this Court seeks only
                          to vindicate notice rights on a classwide basis. To the extent the District
                          Court’s order addressed due process, see post, at 12 (ALITO, J., dissent-
                          ing) (citing ECF Doc. 67, pp. 29−31, 33, 38−39), the District Court’s con-
                          cerns as to the propriety of classwide relief focused on considerations
                          downstream of the initial notice necessary for detainees to raise any sub-
                          stantive claims against AEA removal, see ECF Doc. 67, pp. 29−31, 33,
                          38−39.




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                          States, but the record does not indicate that they have re-
                          ceived any formal notice of removal under the AEA. See
                          ECF Doc. 38, pp. 5−6. The named applicants, along with
                          putative class members, are entitled to constitutionally ad-
                          equate notice prior to any removal, in order to pursue ap-
                          propriate relief. Although the putative class members may
                          ultimately take different steps to protect their own inter-
                          ests in response to such notice, the notice to which they are
                          entitled is the same. And because courts may issue tempo-
                          rary relief to a putative class, see 2 W. Rubenstein, New-
                          berg & Rubenstein on Class Actions §4:30 (6th ed. 2022 and
                          Supp. 2024), we need not decide whether a class should be
                          certified as to the detainees’ due process claims in order to
                          temporarily enjoin the Government from removing putative
                          class members while the question of what notice is due is
                          adjudicated.
                             We recognize that the Government “has agreed to forgo
                          removing the named petitioners pursuant to the AEA while
                          their habeas proceedings are pending.” Opposition to
                          Emergency Application 11. But we reject the proposition
                          that a class-action defendant may defeat class treatment, if
                          it is otherwise proper, by promising as a matter of grace to
                          treat named plaintiffs differently. Cf. FBI v. Fikre, 601
                          U. S. 234, 241 (2024) (explaining that voluntary cessation
                          of challenged conduct does not moot a claim). And we are
                          skeptical of the self-defeating notion that the right to the
                          notice necessary to “actually seek habeas relief,” J. G. G.,
                          604 U. S., at ___ (slip op., at 3), must itself be vindicated
                          through individual habeas petitions, somehow by plaintiffs
                          who have not received notice.
                                                 *    *    *
                            The application for an injunction pending further pro-
                          ceedings is granted. The motion for leave to file a supple-
                          mental appendix under seal is also granted. Additionally,
                          applicants suggested this Court treat the application as a




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                            petition for a writ of certiorari; doing so, the petition is
                            granted. The judgment of the Fifth Circuit is vacated, and
                            the case is remanded to the Fifth Circuit. In resolving the
                            detainees’ appeal, the Fifth Circuit should address (1) all
                            the normal preliminary injunction factors, including likeli-
                            hood of success on the merits, as to the named plaintiffs’
                            underlying habeas claims that the AEA does not authorize
                            their removal pursuant to the President’s March 14, 2025,
                            Proclamation, and (2) the issue of what notice is due, as to
                            the putative class’s due process claims against summary re-
                            moval. The Government is enjoined from removing the
                            named plaintiffs or putative class members in this action
                            under the AEA pending order by the Fifth Circuit and dis-
                            position of the petition for a writ of certiorari, if such writ
                            is timely sought. Should the petition for a writ of certiorari
                            be denied, this order shall terminate automatically. In the
                            event the petition for a writ of certiorari is granted, the or-
                            der shall terminate upon the sending down of the judgment
                            of this Court.
                               The Government may remove the named plaintiffs or pu-
                            tative class members under other lawful authorities.

                                                                          It is so ordered.




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                                                    _________________

                                                    No. 24A1007
                                                    _________________


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                                                   [May 16, 2025]

                               JUSTICE KAVANAUGH, concurring.
                               I understand and agree with the Court’s decision to grant
                            a temporary injunction. The injunction simply ensures that
                            the Judiciary can decide whether these Venezuelan
                            detainees may be lawfully removed under the Alien
                            Enemies Act before they are in fact removed.            The
                            underlying legal questions that the courts may need to
                            decide before the removals occur include: (i) whether the
                            Alien Enemies Act (as distinct from the ordinary removal
                            process under the Immigration and Nationality Act)
                            authorizes removal of these detainees and (ii) if so, what
                            notice is due before removal. Several Federal District
                            Courts have already issued conflicting rulings on the
                            underlying legal issues. Compare A. S. R. v. Trump,
                            No. 3:25–cv–113 (WD Pa., May 13, 2025), with G. F. F. v.
                            Trump, No. 1:25–cv–2886 (SDNY, May 6, 2025), D. B. U. v.
                            Trump, No. 1:25–cv–1163 (D Colo., May 6, 2025), and
                            J. A. V. v. Trump, No. 1:25–cv–72 (SD Tex., May 1, 2025).
                               The Executive Branch and the detainees agree about the
                            urgency and importance of those legal questions: The
                            Executive Branch has represented that this case is
                            important for America’s national security and that it is
                            “critical to remove TdA members subject to the
                            Proclamation quickly.” Application To Vacate Orders in
                            Trump v. J. G. G., No. 24A931 (Mar. 28, 2025), p. 37; see
                            Opposition to Emergency Application 3, 5. For their part,




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                                              KAVANAUGH, J., concurring

                            the detainees have explicitly requested that the Court move
                            fast and grant certiorari before judgment. See Reply 4.
                              The circumstances call for a prompt and final resolution,
                            which likely can be provided only by this Court. At this
                            juncture, I would prefer not to remand to the lower courts
                            and further put off this Court’s final resolution of the
                            critical legal issues. Rather, consistent with the Executive
                            Branch’s request for expedition—and as the detainees
                            themselves urge—I would grant certiorari, order prompt
                            briefing, hold oral argument soon thereafter, and then
                            resolve the legal issues.




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                                                     _________________

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                                                     _________________


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                                                    [May 16, 2025]

                              JUSTICE ALITO, with whom JUSTICE THOMAS joins, dis-
                            senting.
                              I cannot join the decision of the Court. First and most
                            important, we lack jurisdiction and therefore have no au-
                            thority to issue any relief. Second, even if we had such au-
                            thority, the applicants have not satisfied the requirements
                            for the issuance of injunctive relief pending appellate re-
                            view. Third, granting certiorari before any decision on the
                            merits has been made by either the District Court or the
                            Court of Appeals is unwarranted.
                                                           I
                                                          A
                               “Jurisdiction is power to declare the law,” and “[w]ithout
                            jurisdiction the court cannot proceed at all.” Ex parte
                            McCardle, 7 Wall. 506, 514 (1869). So in order for us to do
                            anything in this matter, “we must assure ourselves that we
                            have jurisdiction.” Abbott v. Perez, 585 U. S. 579, 594
                            (2018).
                               The Court’s theory of jurisdiction, as I understand it, is
                            as follows. Under 28 U. S. C. §1254, we have jurisdiction to
                            review a “case” that is properly before one of the federal
                            courts of appeals. This case was properly before the Court
                            of Appeals for the Fifth Circuit because the two habeas pe-
                            titioners, A. A. R. P. and W. M. M., took an appeal from a
                            District Court order that refused to issue “an injunction.”




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                                                   ALITO, J., dissenting

                            §1292(a)(1). Although the District Court never actually is-
                            sued such an order or said that it would do so, the District
                            Court constructively denied injunctive relief by failing to
                            act under circumstances where prompt intervention was
                            urgently needed. See ante, at 3.
                                This theory rests on a mischaracterization of what hap-
                            pened in the District Court. I do not dispute that a district
                            court’s failure to act expeditiously may, in some circum-
                            stances, have “the practical effect of refusing an injunction”
                            and thus entitle a party to take an interlocutory appeal.
                            Carson v. American Brands, Inc., 450 U. S. 79, 84 (1981);
                            see also §1292(a)(1). But that principle does not apply here
                            where (a) the District Court had no good reason to think
                            that either A. A. R. P. or W. M. M. was in imminent danger
                            of removal, (b) the record at that time contained only
                            sketchy evidence about any imminent threat to members of
                            the class of alien detainees they sought to have certified, (c)
                            the court took the entirely reasonable position that it would
                            wait for the Government to respond to the applicants’ re-
                            quest for a temporary restraining order (TRO) before act-
                            ing, (d) the court set a very short deadline for the filing of
                            the Government’s response, and (e) the court was working
                            diligently on the difficult issues presented by the appli-
                            cants’ request for relief for themselves and the members of
                            the putative class.
                                The Court asserts that the District Court failed to act “for
                            14 hours and 28 minutes,” ante, at 3, but that is misleading.
                            Here is what actually happened. On the evening of April
                            17, lawyers for A. A. R. P. and W. M. M. made a phone call
                            in which they demanded “to talk to the Judge immediately
                            . . . and have the Judge issue an order.” Order in No. 1:25–
                            cv–59 (ND Tex., Apr. 21, 2025), ECF Doc. 47–1, p. 2. As the
                            District Court has since correctly noted, judges are gener-
                            ally not permitted to consider such ex parte communica-
                            tions. See ECF Doc. 47, at 1–2 (citing Code of Conduct for
                            Federal Judges, Canon 3(A)(4)); see also Fed. Rule Civ.




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                            Proc. 65(b)(1). So the judge issued an electronic order ad-
                            monishing the attorneys and stating that “[t]o the extent
                            either party seeks emergency relief, it may file a motion to
                            do so. If an emergency motion is filed, the opposing party
                            shall have 24 hours to file a response.” ECF Doc. 29.
                               Thus, when the attorneys for A. A. R. P. and W. M. M.
                            filed their renewed motion for a TRO at 12:34 a.m. on April
                            18, they were fully aware that the District Court intended
                            to give the Government 24 hours to file a response. But in
                            that motion, the attorneys said nothing about a plan to ap-
                            peal if the District Court elected to wait for that response.
                               It was not until their 12:48 p.m. emergency motion for an
                            immediate status conference that the attorneys suddenly
                            informed the court that they would file an appeal if the Dis-
                            trict Court did not act within 42 minutes, i.e., by 1:30 p.m.
                            No. 1:25–cv–59 (ND Tex., Apr. 18, 2025), ECF Doc. 34, p. 2.
                            The attorneys then filed their appeal at 3:02 p.m., just 133
                            minutes after they put the District Court on notice that
                            they would seek appellate relief. Reply 10. Whether or not
                            the actions taken by applicants’ attorneys are thought to be
                            justified under the circumstances, delivering such an ulti-
                            matum to a district court judge (“Act on my motion on a
                            complex matter within 42 or 133 minutes or I’ll file an ap-
                            peal and divest you of jurisdiction”) represented a very
                            stark departure from what is usually regarded as accepta-
                            ble practice.
                               Faced with applicants’ extraordinary demand, the Dis-
                            trict Court proceeded in an entirely reasonable manner.
                            The Court characterizes the District Court’s behavior dur-
                            ing the period in question as “inaction,” ante, at 3, but in
                            my judgment, that is unfair. Rather, as the judge has
                            noted, he “was working with utmost diligence to resolve
                            [the] important and complicated issues [presented by the
                            motion] as quickly as possible.” ECF Doc. 41, p. 4. The
                            judge explained that he had not yet ruled because he could




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                            not “shirk [his] responsibility to decide . . . complicated is-
                            sues of law without at least some opportunity to review the
                            pleadings and attachments and to get thoughtful responses
                            from the parties.” Id., at 5. And the judge “was prepared
                            to issue an order” “as soon as practicable after the govern-
                            ment filed its response shortly after midnight, if not
                            sooner.” Id., at 4.
                               We should commend this careful approach, not criticize
                            it. In the past few months alone, we have vacated or stayed
                            district court orders that granted temporary injunctive re-
                            lief without adequate consideration of the relevant issues.
                            See Trump v. J. G. G., 604 U. S. ___ (2025) (per curiam);
                            Department of Education v. California, 604 U. S. ___ (2025)
                            (per curiam). But in this case, a District Court judge is
                            deemed to have constructively denied an injunction by fail-
                            ing to act within the space of a little over two hours on an
                            application that required consideration of important and
                            difficult questions and that was supported by factual sub-
                            missions that, as I will explain below, were very weak.
                               Under these circumstances, I cannot agree that the Dis-
                            trict Court’s failure to act amounted to a constructive denial
                            of the applicants’ request for relief.
                                                         B
                               As I mentioned, the factual support provided to the Dis-
                            trict Court was weak. The Court claims that the facts pre-
                            sented to the District Court on April 18 showed that there
                            was an emergency entailing a high risk of “serious, perhaps
                            irreparable, consequences.” Ante, at 3 (internal quotation
                            marks omitted). But it is important not to conflate the in-
                            formation that was in the record on April 18 with the new
                            information that was presented to this Court several days
                            later.
                               The record that was before the District Court on April 18
                            (which is the same record that was before us at midnight on
                            that date) included no concrete evidence that any removals




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                            were so imminent that a ruling had to be made immedi-
                            ately. The applicants’ factual support consisted of six sworn
                            declarations and a photograph that the applicants asserted
                            was an image of a notice of removal. See App. to Applica-
                            tion 32–37, 56–65. But neither the declarations nor the
                            photograph showed “extreme urgency.” Ante, at 3.
                               The declarations certainly did not show that action was
                            urgently needed to protect A. A. R. P. or W. M. M. The Gov-
                            ernment had represented in District Court that it would not
                            remove either of those men—the only parties who were in-
                            disputably before the court—while their habeas petitions
                            were pending. Order in No. 1:25–cv–59 (ND Tex., Apr. 17,
                            2025), ECF Doc. 27, p. 1. And the two declarations concern-
                            ing those individuals included no allegations about immi-
                            nent removal. App. to Application 32–37. Indeed, the dec-
                            larations concerning them were signed on April 15, prior to
                            the Government’s representation that they would not be re-
                            moved while their habeas petitions were pending. As a re-
                            sult, the declarations were outdated and provided no sup-
                            port for the claim that either A. A. R. P. or W. M. M. was
                            threatened with removal on April 18 or 19.1
                               The remaining evidence in the record at that time con-
                            cerned only the unnamed members of the as-yet uncertified


                            ——————
                               1 The Government “unequivocally” told the District Court that it did

                            not “ ‘presently expect to remove A.A.R.P. or W.M.M. under the [Alien
                            Enemies Act (AEA)] until after the pending habeas petition is resolved,’ ”
                            and that it would “ ‘update’ ” the District Court if that changed. ECF
                            Doc. 27, at 1. And in their application for relief before this Court, the
                            applicants did not assert that A. A. R. P. or W. M. M. in particular were
                            at risk of being removed. To the contrary, the applicants represented
                            that they had contacted the Government and were told that “the two
                            named Applicants had not been given [removal] notices.” Application 5,
                            n. 3. The Government later confirmed in its filings before this Court that
                            it “has agreed not to remove pursuant [to] the AEA those AEA detainees
                            who do file habeas claims,” including the named applicants. Opposition
                            to Emergency Application 2.




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                            class. And of the four declarations concerning those indi-
                            viduals, only one said anything about when removal might
                            happen. In that declaration, a lawyer swore that she spoke
                            on the phone with an unidentified Venezuelan man who
                            said that “ICE had informed them that they will be de-
                            ported either today or tomorrow to Venezuela.” Id., at 56.
                            In other words, the most specific piece of evidence in the
                            record was a double-hearsay statement that cannot be
                            traced back to any specific government official. Outside of
                            that, none of the remaining declarations said anything
                            about imminent removal. They merely stated that certain
                            aliens were receiving deportation notices, but it was not
                            claimed that these notices specified when removal might oc-
                            cur. See id., at 57–58 (Brané decl.); id., at 59–60 (Collins
                            decl.); id., at 61 (Siegel decl.). And the image of a document
                            labeled “Notice and Warrant of Apprehension and Removal
                            Under the Alien Enemies Act,” which the applicants termed
                            a removal notice, likewise said nothing about the time of
                            removal. See id., at 64–65. Other than these declarations,
                            the court was left with unsupported attorney assertions in
                            the application itself.
                               Ignoring these deficiencies in the record before the Dis-
                            trict Court, the Court relies on information that was not in
                            the District Court record, namely, (a) statements made by
                            a Government attorney in a hearing in another case that
                            was held in Washington, D. C., during the evening on April
                            18, well after applicants filed their appeal and (b) evidence
                            that we received several days later. See ante, at 2. But in
                            evaluating whether the District Court effectively refused to
                            issue injunctive relief, we must consider the facts as they
                            were known to that court at the time in question.2
                            ——————
                               2 Moreover, it appears to me that the Court overstates what the Gov-

                            ernment attorney actually said during the April 18 hearing. The attor-
                            ney represented that it was “definitive” that “there are no flights to-
                            night,” and that “the people [he] spoke to were not aware of any plans for
                            flights tomorrow.” Tr. of Proceedings in J. G. G. v. Trump, ECF Doc. 93,




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                              For these reasons, I agree with the unanimous Court of
                            Appeals panel that the District Court did not constructively
                            deny an application for an injunction. As the panel stated,
                            there was no reason to doubt the “diligence and ability” of
                            the District Court to act appropriately under the circum-
                            stances. Order in No. 25–10534 (CA5, Apr. 18, 2025), ECF
                            Doc. 14–1, p. 2. And his “failure to issue the requested rul-
                            ing” within the extraordinarily short period specified by the
                            applicants cannot reasonably be viewed as “an effective de-
                            nial of injunctive relief.” Id., at 4 (Ramirez, J., concurring).
                                                            II
                               Even if the District Court had denied the applicants’ mo-
                            tion, there would be no ground for reversal because the ap-
                            plicants failed to satisfy the requirements for emergency in-
                            junctive relief, one of which is a showing of likelihood of
                            success on the merits. Nken v. Holder, 556 U. S. 418, 434
                            (2009). And here, in order to obtain what the application
                            sought (and what the Court now provides)—i.e., relief for
                            the members of the class that applicants asked to have cer-
                            tified—applicants had to show that they were likely to es-
                            tablish that class relief is available in a habeas proceeding
                            and, if such relief is available, that the standard require-
                            ments for class certification could likely be met.3
                            ——————
                            p. 15. Although the attorney also said that the Department of Homeland
                            Security “reserve[d] the right to remove people tomorrow,” he repeated
                            numerous times that no flights were planned for April 19. Id., at 26; see
                            also id., at 9, 15, 29–30. The attorney’s statements showed that there
                            was a possibility of future injury but not that such an injury was cer-
                            tainly impending. Clapper v. Amnesty Int’l, USA, 568 U. S. 398, 410
                            (2013).
                               3 The Court asserts that “courts may issue temporary relief to a puta-

                            tive class” without “decid[ing] whether a class should be certified.” Ante,
                            at 7. In support of that proposition, the Court cites to no precedent of
                            this Court. Instead, it cites to a treatise that provides no substantive
                            reasoning in support of the proposition. See ibid. (citing 2 W. Ru-
                            benstein, Newberg & Rubenstein on Class Actions §4:30 (6th ed. 2022
                            and Supp. 2024).




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                              In my judgment, applicants were not likely to prevail on
                            either of those issues.
                                                           A
                                                           1
                              First, it is doubtful that class relief may be obtained in a
                            habeas proceeding. We have never so held, and it is highly
                            questionable whether it is permitted. Although habeas pro-
                            ceedings are classified as civil, the Federal Rules of Civil
                            Procedure apply only “to the extent that the practice in [ha-
                            beas] proceedings . . . previously conformed to the practice
                            in civil actions.” Rule 81(a)(4)(B); see also Rule 1. And in
                            accordance with Rule 81, we have acknowledged that some
                            Federal Rules are inapplicable in habeas.
                              In Harris v. Nelson, 394 U. S. 286 (1969), for example, we
                            held that Rule 33—concerning interrogatories—does not
                            apply in habeas proceedings because it has no analogue in
                            historical habeas practice and is a poor fit in a habeas pro-
                            ceeding. Id., at 292–298. Among other things, we noted
                            that the prevalence of fact-finding in habeas proceedings
                            was a relatively recent development, and that the specific
                            scope of Rule 33 was “ill-suited to the special problems and
                            character of [habeas] proceedings.” Id., at 296.
                              There are similar reasons to believe that Rule 23, which
                            authorizes class actions, is not applicable in habeas. Nei-
                            ther courts nor commentators have found historical support
                            for the practice. One commentator, writing in 1968, noted
                            that “no case has been found in which anything resembling
                            a class action was used in habeas corpus.” Note, Multiparty
                            Federal Habeas Corpus, 81 Harv. L. Rev. 1482, 1493 (1968).

                            ——————
                              Even if the Court were correct, its position would not justify its deci-
                            sion to entirely sidestep the issue of certification. A court considering
                            whether to issue preliminary injunctive relief must consider whether the
                            movant is likely to succeed on the merits. And to consider whether a
                            request for classwide relief is likely to succeed on the merits, a court must
                            at least consider whether class certification is likely.




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                            Two years later, another commentator observed that
                            “[c]lass actions for habeas corpus relief have rarely been at-
                            tempted, perhaps because Rule 81(a)(2) [now Rule 81(a)(4)]
                            seems to bar the application of the civil class action rule to
                            habeas proceedings.” Developments in the Law—Federal
                            Habeas Corpus, 83 Harv. L. Rev. 1038, 1170 (1970) (foot-
                            notes omitted). Indeed, there appears to be some historical
                            debate over whether even joinder was permitted in habeas
                            practice. Compare Note, 81 Harv. L. Rev., at 1494 (“The
                            issue of joinder was not explicitly ruled upon in any of these
                            cases, and no case has been found which expressly sanc-
                            tions the procedure”), with Developments in the Law—Fed-
                            eral Habeas Corpus, 83 Harv. L. Rev., at 1169 (arguing that
                            “the rules on joinder and consolidation apply under even the
                            most restrictive interpretation of Rule 81,” but citing con-
                            trary dicta found in at least one case (footnotes omitted)).
                                                           2
                               Despite this lack of historical support, some lower courts
                            have held that our decision in Harris sometimes permits
                            procedures that resemble those used in a class action. As
                            noted, Harris held that Rule 33, which concerns interroga-
                            tories, does not apply in habeas, but the Court also observed
                            that habeas courts “may fashion appropriate modes of pro-
                            cedure, by analogy to existing rules or otherwise in con-
                            formity with judicial usage,” when such modes of procedure
                            are necessary to “the habeas corpus jurisdiction and the
                            duty to exercise it.” 394 U. S., at 299. On this ground, Har-
                            ris held that a habeas court may use its authority under the
                            All Writs Act, 28 U. S. C. §1651, to fashion a procedure re-
                            sembling an interrogatory to the extent that such an instru-
                            ment is “needed” by the court to “perform [its] duty” to
                            “summarily hear and determine the facts, and dispose of
                            the matter as law and justice require.” 394 U. S., at 299–
                            300 (internal quotation marks omitted).
                               Based on this discussion in Harris, the Second Circuit




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                            held that while Federal Rule of Civil Procedure 23 does not
                            itself apply in habeas, “a multi-party proceeding similar to”
                            a Rule 23 class action is sometimes allowed. United States
                            ex rel. Sero v. Preiser, 506 F. 2d 1115, 1125 (CA2 1974). And
                            it concluded that this procedure was appropriate in “the un-
                            usual circumstances” present in the case at hand. Ibid.; see
                            also Bijeol v. Benson, 513 F. 2d 965, 968 (CA7 1975).
                               This reading of Harris is highly questionable. Where a
                            particular rule does not apply in habeas, a court cannot cir-
                            cumvent that limitation by simply saying that it is import-
                            ing the same feature under a different rubric. Harris con-
                            cluded that something like an interrogatory was allowed
                            because it was needed under the circumstances to help the
                            habeas court carry out a duty clearly imposed by law, that
                            is, to “ ‘determine the facts’ ” that are material to the claim
                            made by the petitioner who was before the court. 394 U. S.,
                            at 299 (quoting 28 U. S. C. §2243).
                               The situation here is different. No provision of law im-
                            poses on a habeas court the duty to determine facts or de-
                            cide legal issues regarding parties who are not before the
                            court. And as a general matter, the class action device is
                            uniquely “ill-suited” for habeas proceedings, id., at 296,
                            which often turn on individualized and fact-specific deter-
                            minations regarding the confinement of a specific prisoner.
                                                          B
                              Even if something resembling a class action could be used
                            in a habeas proceeding, it is very questionable whether the
                            requirements for class certification could be met in this
                            case. Rule 23(a)(3) provides that named plaintiffs may sue
                            as representatives of a class “only if,” among other things,
                            “the claims or defenses of the representative parties are
                            typical of the claims or defenses of the class.” And when a
                            court certifies a class, the court is supposed to define the
                            precise “claims” that will be adjudicated on a class-wide ba-
                            sis. See Rule 23(c)(1)(B). That ensures that the only claims




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                            that are adjudicated in a class action are those that the
                            class brings in common and those for which the named
                            plaintiffs are “typical” representatives of the class. See
                            General Telephone Co. of Northwest v. EEOC, 446 U. S. 318,
                            330 (1980) (“The typicality requirement is said to limit the
                            class claims to those fairly encompassed by the named
                            plaintiff ’s claims”).
                               Here, however, the main interim relief sought on behalf
                            of the putative class—adequate notice of plans for removal
                            under the AEA and an opportunity to contest such removal
                            in court, see Application 17–18; Reply 5–7—is not needed
                            by either A. A. R. P. or W. M. M., who already have a pend-
                            ing habeas proceeding and a promise that they will not be
                            removed until that proceeding concludes. For this reason,
                            their situation differs critically from that of many of the pu-
                            tative class members since they have no personal stake in
                            how the court resolves the question of interim relief for the
                            putative class members.
                               The Court responds to this problem by suggesting that a
                            class action defendant may not “defeat class treatment, if it
                            is otherwise proper, by promising as a matter of grace to
                            treat named plaintiffs differently.” Ante, at 7 (emphasis
                            added). But the Court provides no analysis suggesting that
                            class certification here is “otherwise proper,” and instead
                            asserts that it can ignore the question of class certification
                            at this preliminary stage. Ibid. And, in any event, the rec-
                            ord does not suggest that the Government is treating the
                            named plaintiffs differently “as a matter of grace.” Ibid.
                            Rather, it is doing so pursuant to its general policy against
                            removing AEA detainees when they have a pending habeas
                            petition. See Opposition to Emergency Application 2 (“the
                            government has agreed not to remove pursuant [to] the
                            AEA those AEA detainees who do file habeas claims”).
                                                         C
                              We have told district courts that they may certify a class




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                            only after conducting a “ ‘rigorous analysis’ ” of the question.
                            Wal-Mart Stores, Inc. v. Dukes, 564 U. S. 338, 351 (2011)
                            (quoting General Telephone Co. of Southwest v. Falcon, 457
                            U. S. 147, 161 (1982)). On April 18, the District Court had
                            no time to engage in such analysis, and as a result, it cannot
                            be said that the court abused its discretion in failing to con-
                            clude that applicants’ were likely to prevail on their class-
                            action arguments. Cf. University of Tex. v. Camenisch, 451
                            U. S. 390, 393–394 (1981).
                              The District Court has since had time to conduct the “rig-
                            orous analysis” that our precedents require, and has con-
                            cluded that class certification would be improper here. Or-
                            der in No. 1:25–cv–59 (ND Tex., May 9, 2025), ECF Doc. 67.
                            That development makes the relief issued by the Court to-
                            day all the more extraordinary. Purporting to exercise its
                            appellate jurisdiction, the Court issues “preliminary relief ”
                            to a putative class that the District Court has explicitly re-
                            fused to certify, and it does so without providing any sub-
                            stantive analysis suggesting that the District Court’s anal-
                            ysis of the class certification issue was incorrect.
                              Instead of substantively engaging with the District
                            Court’s order, the Court asserts that the order makes no
                            difference because it “primarily addressed the detainees’
                            ability to challenge the validity of AEA removal on a class-
                            wide basis,” whereas “[t]he application before this Court
                            seeks only to vindicate notice rights.” Ante, at 6, n. *. But
                            the District Court’s order did address the notice question.
                            In addition to explaining why the applicants cannot pursue
                            their final merits claims as a class action, the order explains
                            at length why the applicants’ claims regarding notice rights
                            also cannot proceed on a class basis. ECF Doc. 67, at 29–
                            31, 33, 38–39. Among other things, the District Court ob-
                            served that “due process is by its very nature individual-
                            ized,” id., at 33, a proposition plainly supported by our prec-
                            edents. See Jennings v. Rodriguez, 583 U. S. 281, 314




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                            (2018) (“Due process is flexible, we have stressed repeat-
                            edly, and it calls for such procedural protections as the par-
                            ticular situation demands” (internal quotation marks and
                            alteration omitted)).
                               In any event, the District Court also offered several gen-
                            eral reasons why class relief would be inappropriate here,
                            and these apply equally to the applicants’ claims regarding
                            notice rights. See ECF Doc. 67, at 35–36, 39–45. The Court
                            today issues temporary relief without engaging with any of
                            that analysis. And, what’s more, it asks the Fifth Circuit to
                            finally adjudicate the notice rights of members of the puta-
                            tive class without asking that court to do its own analysis
                            regarding whether class certification as to those claims
                            would be appropriate. Ante, at 8. Clearly, the Court would
                            prefer to ignore the important step of class certification and
                            skip directly to the adjudication of the class members’
                            rights. The Federal Rules do not permit such a shortcut.
                                                         III
                              Instead of merely ruling on the application that is before
                            us—which asks for emergency relief pending appeal—the
                            Court takes the unusual step of granting certiorari before
                            judgment, summarily vacating the judgment below dis-
                            missing the applicants’ appeal, and remanding the case to
                            the Court of Appeals with directions regarding the issues
                            that court should address. From the Court’s order, it is not
                            entirely clear whether the Court has silently decided issues
                            that go beyond the question of interim relief. (I certainly
                            hope that it has not.) But if it has done so, today’s order is
                            doubly extraordinary. Granting certiorari before a court of
                            appeals has entered a judgment is a sharp departure from
                            usual practice, but here neither the Court of Appeals nor
                            the District Court has decided any merits questions.
                              We have said more times than I care to remember that
                            “we are a court of review, not first view.” Cutter v. Wil-
                            kinson, 544 U. S. 709, 718, n. 7 (2005). Even on the Court’s




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                            reading of what happened below, all that the District Court
                            and the Court of Appeals decided was that the applicants
                            were not entitled to temporary injunctive relief. If the
                            Court has gone beyond that question, it has blazed a new
                            trail. It has plucked a case from a district court and decided
                            important issues in the first instance. To my eyes, that
                            looks far too much like an expansion of our original juris-
                            diction.
                              I must therefore respectfully dissent.




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